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                             UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: David D. Douglas
       Autumn N. Douglas
                                Debtor(s)                     BK. NO. 20-70304 JAD

JP MORGAN CHASE BANK, NATIONAL
ASSOCIATION
                            Movant
                      v.                                      CHAPTER 13
David D. Douglas
Autumn N. Douglas
                            Respondents
                      and
Ronda J. Winnecour, Trustee
                            Additional Respondents

                 RESPONSE MOTION OF JP MORGAN CHASE BANK, NATIONAL
                                    ASSOCIATION
                        FOR RELIEF FROM THE AUTOMATIC STAY

        Respondent by its Attorney, Willis & Associates., hereby files the following Response to the Motion

seeking termination of the Automatic Stay and leave to foreclose on its mortgage on real property owned by

Debtor(s).

        1.      Admitted.

        2.      Admitted.

        3.      Admitted.

        4.      Admitted.

        5.      Denied Debtor is without sufficient knowledge as to what Movant wishes, by way of further

response payment are being made wage attachment via Chapter 13 Trustee.

        6.      Denied Debtor is without sufficient knowledge as to current payoff.

        7.      Denied that Debtors are currently delinquent in payments to the Chapter 13 Trustee in the

                amount of $1,968.00. Per the trustee network arrears as of 10/31/2020 were $519.00.

                (November payment is not due)

        8.      Denied Debtor’s payments are being made per wage attachment via Chapter 13 Trustee.

        9.      Denied that Debtors are currently delinquent in payments to the Chapter 13 Trustee in the

        10.     amount of $1,968.00. Per the trustee network arrears as of 10/31/2020 were $519.00.

        11.     (November payment is not due)
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      12.     Admitted.

      13.     Admitted.

      14.     Admitted.


      15.     Denied by way of further response payment are being made per wage attachment via

              Chapter 13 Trustee.

      16.     Denied by way of further response payment are being made wage attachment via Chapter 13

              Trustee.

      17.     Legal conclusion to which no response is required.

      WHEREFORE, Respondent respectfully requests that this Court enter an Order Denying the Motion

      for Relief from the Automatic Stay.


 Date: November 6, 2020                                 /s/ Lawrence Willis, Esquire
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